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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 JEFFREY FOLK,                                       )
                                                     )
                        Plaintiff,                   )
         v.                                          ) C.A. No.: 1:17-cv-01229 (VAC)(SRF)
                                                     )
 ASSET RECOVERY SOLUTIONS, LLC,                      )
                                                     )
                        Defendant.                   )

              STIPULATION OF DISMISSAL PURSUANT TO RULE 41(a)


        It is hereby stipulated by and between the parties that the above-captioned action be

dismissed with prejudice. The action shall be and hereby is dismissed with prejudice and

without costs to either party, and a judgment of dismissal with prejudice may be entered in the

case.


LAW OFFICE OF MARY HIGGINS LLC                       COOCH and TAYLOR, P.A.

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Dated: July 12, 2018                                 Dated: July 12, 2018
